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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    JOHN AND JANE DOES 1-9, et al.,

                 Plaintiffs,

          v.                                              Civil Action No. 25-0325 (JMC)

    DEPARTMENT OF JUSTICE,

                 Defendant.


    FEDERAL BUREAU OF INVESTIGATION
    AGENTS ASSOCIATION, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25-0328 (JMC)
          v.

    DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


                 PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY

         The above-captioned consolidated Plaintiffs hereby move for expedited discovery in the

above-captioned matter. 1 As explained in the supporting memorandum of law attached hereto, the

requested discovery materials are limited in scope, for good cause, and should be easily retrievable

by the Government. Plaintiffs’ specific discovery requests are attached hereto as Exhibit A, with




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  This motion is styled as “expedited” in order to accommodate the current agreed-upon briefing
schedule. See ECF No. 14 (Order directing briefing deadlines of February 24, 2025 (Plaintiffs’
motion), March 14, 2025 (Defendants’ response), March 21, 2025 (Plaintiffs’ reply) and hearing
date of March 27, 2025). Should the Government request additional time to respond beyond the
proposed expedited timeline, the Plaintiffs would agree to a reasonable extension of the current
briefing schedule.
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  a request for a response within five (5) calendar days of this filing. Counsel for the Government

  has been consulted prior to the filing of this request and has not yet indicated a position.

            WHEREFORE, Plaintiffs respectfully request that the Court enter an order allowing for

  such limited expedited discovery, as set forth in the attached Proposed Order.



  February 17, 2025
                                                                 Respectfully submitted,



LAW OFFICE OF MARK S. ZAID, P.C.                        CENTER FOR EMPLOYMENT JUSTICE

By:           Mark S. Zaid                              By:        Pamela M. Keith
      MARK S. ZAID, D.C. Bar #440532                    PAMELA M. KEITH, D.C. Bar #448421
      BRADLEY P. MOSS, D.C. Bar #975905                 SCOTT M. LEMPERT, D.C. Bar #1045184
      1250 Connecticut Avenue, NW, Suite 700            650 Massachusetts Ave., NW, Suite 600
      Washington, D.C. 20036                            Washington, DC 20001
      (202) 498-0011                                    (202) 800-0292
      Mark@MarkZaid.com                                 pamkeith@centerforemploymentjustice.com
      Brad@MarkZaid.com                                 Slempert@centerforemploymentjustice.com
      Attorneys for John and Janes Does 1-4             Attorneys for John and Janes Does 1-9, et al.



STATE DEMOCRACY DEFENDERS FUND                          KOSKOFF, KOSKOFF & BIEDER, PC

By:           Norman L. Eisen                           By:        Margaret Donovan
      Norman L. Eisen D.C. Bar # 435051                 Christopher Mattei, Bar # 27500 (pro hac vice)
      600 Pennsylvania Avenue, SE, #15180               Margaret Donovan, Bar # 31787 (pro hac vice)
      Washington, D.C. 20003                            350 Fairfield Ave., Suite 501
      (202) 594-9958                                    Bridgeport, CT 06604
      norman@statedemocracydefenders.org                (203) 336-4421
      Attorney for John and Janes Does 1-4              cmattei@koskoff.com
                                                        mdonovan@koskoff.com
                                                        Attorneys for Federal Bureau of Investigation
                                                        Agents Association



  Attorneys for Plaintiffs




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